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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

 WHOLE WOMAN’S HEALTH, ET AL.,           §
     Plaintiffs,                         §
                                         §
 v.                                      §
                                               CIVIL ACTION NO. 1:16-cv-01300-SS
                                         §
 JOHN HELLERSTEDT, M.D.,                 §
      Defendant.                         §

                     DEFENDANT’S NOTICE OF APPEAL

      Defendant John Hellerstedt, M.D., in his official capacity as Commissioner of

the Texas Department of State Health Services, appeals to the United States Court

of Appeals for the Fifth Circuit from the Order Granting Preliminary Injunction

entered on January 27, 2017 (Doc. 49).



                               Respectfully submitted,

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                        CERTIFICATE OF FILING AND SERVICE


      I hereby certify that on this 23rd day of February 2017 a true and complete

copy of the above and foregoing document was served on the following via the Court’s

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